PROJECT MONITORING CLAIM REPORT

Eightfold
Austin, TX

REPORT NUMBER 11

MAY 21, 2019




PREPARED FOR:
Romspen Mortgage, L.P.


17470 Pacesetter Way, Scottsdale, AZ
T 480 440 6215
Romspen Mortgage, L.P. | Eightfold
Report Number 11 | May 21, 2019




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              Prepared By                   Reviewed By      Date        File No.
         Jason S. Corwin, CPC               Chris Welsh   May 21, 2019   US9874
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1.0   Introduction
1.1   Instructions Received
      This Progress Claim Report (“Report) has been prepared by BTY US, LLC (“BTY”) at the request of Romspen
      Mortgage, L.P., (the “Lender”). The Report is intended to provide a general overview of the fundamental features
      of the project, as provided to us by the Borrower, including confirmation of any revisions to the project budget;
      progress on site; and costs incurred to date. This Report is to be read in the context of the Lenders’ Terms and
      Conditions outlined in the Lender’s Term and Construction Loan Letter, dated February 1, 2018, and BTY’s
      engagement for the Project, dated December 1, 2017. Lender has requested BTY to review and comment on
      additional documents related to the project such as accounts payables, draw conformance, etc. As such, BTY has
      revised our standard reporting as necessary to accommodate these requests.
1.2   Reliance upon the Report
      This Report is for the sole reliance of the Lender. BTY US, LLC, its directors, staff, or agents do not make any
      representation or warranty as to the factual accuracy of the information provided to us on behalf of 3443 Zen
      Garden Limited Partnership (the “Borrower”), its subcontractors or agents, upon which this Report is based. This
      Report contains confidential information and shall not be reproduced or distributed to any party other than the
      recipients noted above without the express permission of BTY US, LLC.
1.3   Reporting Qualifications
      This report has been prepared based on information provided to us by the Borrower up to the date of issue of
      this report. BTY US, LLC has reviewed the information provided to us as part of our due diligence procedures, to
      ensure that the Borrower’s application for payment is reasonable. BTY US, LLC does not accept accountability for
      information that has not been provided to us or is not available at the time of preparing this report.
      BTY US, LLC is a professional firm of Quantity Surveyors and is not qualified to provide confirmation that the
      works are being constructed in accordance with the approved drawings, specifications and regulatory approvals.
      If the design consultant of record has provided us with this confirmation, we will include the documentation as
      part of our report.
1.4   Contacts

      If you have any queries in relation to this report, please contact:

      BTY US, LLC
      17470 Pacesetter Way
      Scottsdale, AZ 85255

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2.0   Executive Summary
      Site Visit                                           Details                     Comments
      Date of Visit                                        May 1, 2019
      Schedule
                                                                                       Works commenced by Panache – previous work was started
      Actual Start on Site                                 April 2017
                                                                                       by others prior to Panache’s involvement
      Forecast Completion                                  November 28, 2019           see Section 10.0 for details
      Schedule Status                                      5‐months delay              see Section 10.0 for details
      Loan Maturity Date                                   24 months                   With a 6‐month extension option
      Drawdown
      Loan Draw Recommended this month                     $           2,029,481       Subject to all outstanding required documents being
                                                                                       provided to the Lender as detailed within this report
      Cumulative Loan Advance to date                      $          75,599.348       Includes current claim
      Construction Budget
      Original Budget                                      $          52,053,815       Excluding PACE
      Current Forecast Final Cost                          $          52,053,815       Excluding PACE
      Current Variance / Status                            $                      0    Refer to Section 5.0 for detailed information
      Work‐in‐Place                                        $          33,068,475       64% complete to date
      Development Budget
      Original Budget                                      $          52,122,205       Excluding PACE
      Current Forecast Final Cost                          $          50,471,774       Excluding PACE
      Current Variance / Status                            $                      0    (1,650,431) Overall ‐ Refer to Section 5.0 for details
      Work‐in‐Place                                        $          42,530,872       84.3% complete to date
      Overall Project Budget
      Total Forecast Final Cost                            $         102,525,589       Not including PACE
      Total Work‐in‐Place                                  $          75,599,348       59.3% complete overall
      Cost to Complete
      Remaining Loan Facility                              $          28,995,723       Not including PACE
      Remaining Cost to Complete                           $          26,926,241       Not including PACE
      Contingency
      Drawdown on Contingency this month                   $                      0
      Balance of Contingency Remaining                     $              618,268      Refer to Section 6.0 for additional details
      Retention
      Retention                                            $              149,312      Refer to Sections 3.0 and 18.0 for details
      Retention Release                                    $                      0
      Notes / Other Comments
      Various documents requested remain outstanding, and BTY cannot adequately comment on whether the current cost to
      complete balance is adequate or if the project will be completed on time. Details are included within the report.


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3.0   Draw Recommendation
      We have reviewed Draw No. 11 which was submitted by Ms. Amanda Woodham on May 8, 2019 (although the
      final documents required for BTY’s review were not provided until May 17, 2019), representing 3443 Zen Garden
      Limited Partnership, (“Borrower”). A site visit was carried out by BTY US, LLC (“BTY”) on May 1, 2019.
      BTY notes that BTY, Lender, Borrower and Panache Development & Construction, Inc., (“Panache”) have been
      working on creating a definitive checklist of documents that will be required with each and every draw request
      from the Borrower. We note a final, fully approved version of the checklist has still not been agreed to by all
      parties, and we recommend that this occur as soon as possible to avoid continued confusion on documentation
      requirements. With this draw, Panache has again provided their own version of the draw checklist; therefore,
      certain documents on the Lender’s version of the list have not been provided. As such, BTY recommends that
      Lender fund the current draw only if they are satisfied with the documents provided and are willing to accept
      that Panache and the Borrower have not provided certain documents. Outstanding items are detailed in various
      sections within this report and specifically within Section 4.0 below.
      Based on the information provided by the Borrower and our site visit, we recommend that Romspen Mortgage,
      L.P., (the “Lender”) make an advance on its loan to the Borrower in the amount of $2,029,481 subject to all
      outstanding, required documents being provided to the Lender as detailed within this report (and specifically
      within Section 4.0).
      The current progress draw (not including PACE) can be summarized as follows:

                               Total Loan Amount                                                  $      102,525,589

                               Less: Cost‐to‐Complete                                             $       (26,926,241)

                               Total Gross Advance Available                                      $        75,599,348

                               Less: Previous Advances                                            $       (73,569,866)

                               Total Recommended Advance                                          $          2,029,481

      The Total Recommended Advance excludes interest. BTY understands $5,397,045.42 has been collected to date
      through April 22, 2019.
      We note that the overall construction and development budget includes a $25,000,000 loan facility from
      Cleanfund Commercial PACE Capital Funding, (“PACE”); however, that loan has not yet closed, and the Borrower
      has not yet requested funds for any PACE scope items. BTY is aware that the Borrower has begun work that is to
      be reimbursed by PACE, although we understand that as of our latest site observation on May 1, 2019 the PACE
      funding was still not in place. Although BTY is not providing funding recommendations on the PACE scopes of
      work, the completion of the scopes materially affect the ongoing success of the project. If the PACE agreement
      does not close, or if the funding is delayed, the project may not be completed with current loan funds. In this
      case, the Borrower would be required to contribute additional equity and the project would stop until such time
      as this occurs. Once PACE funding starts, we will include the tracking of such in our draw summary so that the
      Lender is aware of the status and remaining costs to complete. This period, BTY was provided with an update
      from Panache regarding PACE within their Progress Report 11 which was provided on May 17, 2019. The update
      was extremely detailed and is included in Appendix 4 as an attachment to this report. As the update is extensive,
      BTY has not reproduced it here.

      Note that this advance may be adjusted by the Lender for the following:
      •     Additional financing fees if required
      •     Interest costs (refer to Section 15.0)



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      Equity Notes
      Per the Lender, the Borrower has met current equity requirements. However, based on the level of contingency
      in the project budget, the identified completion delay and items which remain outstanding as detailed
      throughout the report and specifically within Section 4.0, it appears there may be an upcoming funding shortfall
      without an additional equity injection. It is, however, impossible to quantify the amount of additional equity due
      to the insufficient backup provided to date.
      Retention
      Limited retention, in the amount of $149,312, is noted as being held on the construction contract – please refer
      to Section 18.0 for details.
      Please refer to the Appendices for a copy of the current Quantity Surveyor’s Loan Advance Recommendation
      Certificate, along with the supporting Draw Summary.


4.0   Progress Draw Review
      We have not made any adjustments to the Borrower’s budget this month for the FHJ, Service Facility or TI
      scopes.
      In a previous period, it was noted that a previously billed amount of $75,000 in the FHJ budget for the “Concrete
      and Concrete Coring” line item was moved by the Borrower on their pay application to the “Concrete for Decking
      (2 New Floors per Building)” line item. This revision did not affect the draw amounts then or currently.
      As mentioned in Section 3.0 above, a new draw checklist prepared by the Lender was in progress prior to this
      claim which currently totals 32 items, with only 24 items indicated to be required each period. This period,
      certain items were not provided due to the Borrower using their own checklist form which includes only 25 items
      in total. We recommend that a final checklist, agreed to by all parties, be adopted prior to the next draw.
      References to Item Nos. in the list below relate to the numbering on Romspen’s list. All outstanding or
      incomplete items are as follows:
        1. Full backup and supporting invoices from all subcontractors, suppliers and subconsultants (Item 7 on the
           current checklist). Certain documents have been provided; however, BTY cannot confirm all payments
           requested. Panache have previously indicated they would not be providing additional information due to:
           the companies they are dealing with not being large enough to provide adequate backup, Panache has
           been unable to execute prime contracts because of the funding situation, and the smaller subcontractors
           not using a G702/G703 format. Although there remains a lack of certain backup information, BTY notes that
           again this period we are getting better detail. BTY recommends Lender review this requirement again with
           the Borrower and Panache, and we recommend that a final checklist, agreed to by all parties, be adopted
           prior to the next draw. BTY also notes that even though certain subcontractor invoices are being provided,
           they generally still do not include the subcontractor’s original budget, any changes, current budget,
           previous payments, current payment and balance of cost to complete for their contract.
        2. Invoices, releases and cancelled checks (>$10K) for work performed by Panache – Item 8 on the Romspen
           checklist. Certain lien waivers have been provided, but no invoicing other than an overall invoice from
           Panache was provided with the draw request. However, Dan Richardson with Romspen was onsite and
           reviewed certain invoicing and cancelled checks for Panache’s self‐performed work. Mr. Richardson stated
           that his review was satisfactory.
        3. Panache check register and copies of cancelled Panache checks for prior draw’s payables (for all checks
           >$10K and for seven checks <$10K (chosen by Lender)) – Item 9. This period, BTY is aware that Mr.
           Richardson reviewed certain checks at Panache’s offices, and we understand he was satisfied with the
           review.
        4. Check reconciliation tying into the draw and payout amounts/AP (aged) – Item 10. Panache previously
           stated they do, “not and will not provide check reconciliation as part of the draw process. Panache is not

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       the borrower. Panache will perform under the construction contract requirements. We can give you a
       check reconciliation for the Borrower.” BTY notes for Draw 11, as was the case with Draws 5 through 10, an
       AP report was provided for Panache (only for FHJ, TI and Service Facility scopes); however, the document
       does not provide adequate information to fully understand who was paid with the last draw funding.
  5.   Borrower/Eightfold bank statements and cancelled checks – Item 11. Previous and current bank statements
       for Eightfold Developments, LLC were provided this period. However, neither a General Ledger nor a
       Balance Sheet were provided.
  6.   Accounts payable and aging list (relating to the entire property) broken down into Buildings, Servicing and
       Phases – Item 12. An AP report was provided for Panache dated April 26, 2019, which identified each item
       as related to either FHJ, TI Scope or Service Facility; however, it did not include any scopes beyond FHJ TI’s
       and the Service Facility. Panache’s previous response to this request for information relating to other
       scopes of the project was that “There had been significant investments that were made on the Campus
       prior to the closing of the loan. Panache deferred $3.2 million in unpaid invoices and that is reflected in the
       loan documents. That bill will be paid according to the loan documents. There are other expenses that
       Panache is paying for which was disclosed to Richard, Blake and Jason which encompasses very little in
       marketing as well as grounds maintenance that happens routinely. Under the loan documents, the owner
       is not required to report investment in its own property”.
  7.   Unconditional notarized lien releases/waivers (including declaration that all accounts have been paid) from
       all subcontractors/suppliers paid from the preceding draw – Item 14. Approximately $805,054 in
       subcontractor unconditional lien waivers were provided for the current Draw 11. Further, approximately
       $694,452 of subcontractor unconditional waivers have been provided with this draw package for the
       Previous Draw 10, and $587,567 in unconditional lien waivers were previously provided as part of the Draw
       10 package. Using these amounts, a total of $1,282,039 of unconditional waivers have been provided for
       the previous Draw 10 total draw request of $2,786,112 including Panache’s own work.
  8.   Updated Budgets – Item 16. We note that the interest line item in the overall budget does not reflect the
       interest carry that will be required for the currently projected 5‐month completion delay, 2018 property
       taxes are not included, nor are any revisions which may be necessary for contingency. Panache requested
       with the previous Draw 7 that property taxes and additional testing be funded from the Interest Reserve
       and Closing Costs line item in the budget; however, BTY’s opinion is the contingency be reallocated to fund
       the respective line items, and then the funding should occur from those line items. BTY previously raised
       this issue with the Lender’s representative, Mr. Richardson who stated that he’d also discussed this
       internally with the Lender; however, a resolution was not provided. BTY recommends that the Lender
       confirm this is acceptable.
  9.   Retainage Log – Item 20. A Holdback Log was provided which does show a minor amount of retention being
       withheld on three of seven specific contracts with payments to date ($149,312 of $12,435,811 draws to
       date, including this period). BTY’s opinion remains that additional retention should be being held by
       Panache; however, Panache has previously provided explanations as to why they do not want to do so.
10.    Listing of Offsite Materials – Item 21. The Borrower provided a Stored materials Log showing only Austin
       Glass as having offsite materials; however, BTY believes there may be other items which are simply not
       being broken out correctly. This point was again discussed with Panache at our previous observation on
       January 18, 2019. It was explained by BTY and Dan Richardson what is being requested. Although the log
       this period was not blank, as had been in previous periods, we expected there to be more clarity on this
       item based on the recent discussions.
11.    Updated plans and specifications, copies of approved contracts (previous and current) – Items 25 (a & b)
       and 26. Panache had previously agreed to setup a folder on the BOX site for all executed contracts. On
       February 7, 2019, a folder was setup and certain draft contracts were uploaded; however, executed copies
       of all subcontracts have not yet been provided. These are recommended to still be provided for review.




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5.0   Project Budget Review
      We have not made any adjustments to the Borrower’s budget this month for the FHJ, Service Facility or Building
      F first and second floor TI scopes.
      We note that we are currently unable to confirm the cost to complete shown in the Project Budget is adequate
      to complete the project. This is due to the lack of complete information, and additional documents requested by
      our Client from the Borrower and Panache.
      Refer to Section 4.0 above for details regarding the Borrower’s backup provided and documents which remain
      outstanding.

      See Section 6.0 below for specific commentary on contingency.


6.0   Contingency Status
      Although the Borrower includes $1,000,000 in contingency within their contract of $80,212,972, BTY’s original
      recommendation was for a loan budget Contingency amount of $2,268,699, or 2.9% of the Construction Budget
      Hard Costs total of $79,442,844 (Loan funds and PACE funds combined). BTY originally removed the $1,000,000
      contingency from the Borrower's hard costs and replaced it with our recommended amount above, such that the
      total loan amount would have been $104,176,020. We note however, that as the loan has been capped at
      $102,525,589, this effectively reduced the contingency by $1,650,431, and the budget was therefore $618,268.
      No contingency use was noted this period, and the balance remaining currently represents 1.5% of the hard
      costs ‘cost to complete’ (Loan and PACE combined) amount of $42,554,830.
      This period, and due to the inadequacies of the documentation provided (as identified in Sections 3.0 and 4.0),
      BTY continues to not be able to confirm the cost to complete budget is adequate, and that the current schedules
      can be met (even with the 5‐month delay currently noted). As such, we opine that a 5% contingency be
      considered for the current cost to complete total of $26,307,974 (the current cost to complete for FHJ and
      Service Facility of $26,926,242, less contingency, and not including PACE). This equates to $1,315,399. If the
      Borrower and Panache can provide adequate documentation moving forward, this recommendation will be
      reconsidered.
      Further, Panache requested with the previous Draw 7 that property taxes and additional testing be funded from
      the Interest Reserve and Closing Costs line item in the budget; however, BTY’s opinion is the contingency be
      reallocated to fund the respective line items, and then the funding should occur from those line items. BTY raised
      this issue with the Lender’s representative, Mr. Richardson who stated that he’d also discussed this internally
      with the Lender although a resolution was not provided. BTY recommends that the Lender confirm this is
      acceptable
      We further note that the Borrower’s $1,000,000 contingency was to have reportedly come from Texas
      Department of Transportation (TXDOT) related to a potential settlement from ongoing arbitration between the
      development and TXDOT for encroachments and additional issues including, but not limited to, a portion of the
      access road which is subsiding and will have to be repaired and retention ponds which TXDOT constructed on the
      Borrower’s land without permission from the Borrower. As the mediation is not yet complete, the amount of a
      settlement cannot be confirmed as “Contingency”.
      We will continue to monitor contingency levels against any further budget revisions or change orders approved
      and advise of its adequacy.




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7.0   Change Orders
      This period, as part of the new checklist mentioned throughout this report, BTY requested a Change Order Log –
      to include executed or pending change orders, regardless of funding source or whether total budget increases or
      not (i.e. identifying potential or actual line item revisions). Once again, Panache provided a log showing no
      change orders executed or pending; however, we are of the opinion this was done to appease the Lender, as BTY
      has been made aware of various items previously that may affect the total costs – see below for details.
      Panache’s statements to date regarding any change orders are that they have a fixed price contract, and so no
      changes will occur. Without complete transparency from the Borrower and Panache, it remains unclear if there
      will be change orders.
      Per emails and discussions with Panache, in the last round of his contract budget revisions prior to closing,
      certain line items were reduced. Due to this, it has been stated that the Owner will need to fund certain items.
      We note it appears these items may, at some time, need to be included as change orders if the Owner does not
      fund them. The reduced line items are as follows:
                 The balance to complete the contractor’s lounge (the temporary housing facility being constructed for
                  the workers being utilized by Panache to keep the construction costs down). The original budget was
                  $154,563 but was reduced to $75,000 in the final budget. The difference, per Mr. Zarafshani, will have
                  to be funded internally;
                 The $300,000 reduction of the “Restoration of Service Common Areas” line item which, per Mr.
                  Zarafshani does not impact building F/H/J or V, however, they will have to do this work internally
                  because it deals with the overall appearance of these buildings;
                 A $100,000 reduction in the FHJ insulation line item which reportedly takes the insulation down to the
                  minimum to obtain C of O, but which will have to be added back in when the TI’s are done;
                 A $100,000 reduction in the FHJ plumbing fixtures line item which reportedly ties to a reduction in the
                  extent to which the restrooms in buildings H and J will be constructed in order to obtain C of O, but
                  which will have to be added back when the TI’s are done;
                 A $100,000 reduction in the FHJ lobby furniture line item which reportedly ties to a reduction in the
                  number of furnishings for only two lobbies, but which will have to be added back when the TI’s are
                  done.
      The total of all items above is $679,563, and although none are reportedly required to obtain a Certificate of
      Occupancy, it is clear they represent deferred items. In addition to the items above, $229,868.76 for 2017
      property taxes and $35,000 in fees to City of Austin were previously paid for; however, they were removed from
      the final contract budget (although included previously). The total of these two items and the items noted in the
      list above is $944,431. BTY also notes that the Borrower’s current budget does not include 2018 property taxes in
      the amount of $234,645, which was drawn from the Interest Reserve & Closing Costs line item in the overall
      budget. BTY recommends that Lender confirm that this is the correct line item to draw the taxes funds from. The
      total of all items above is $1,179,076 while current contingency is only $618,268.
      Within the previous Progress Reports provided by the Borrower for Draws 3 and 5‐10, BTY notes that multiple
      items were noted as having potential (or determined) cost impacts. These potential costs are detailed in our
      previous reports for the draws.
      The Borrower has also stated during our site observations that there are various items for which there was no
      original budget for, and as such they are self funding – the source of funding for each of the items has not been
      specified. We asked the Borrower, during a previous site observation on August 9, 2018, how they were tracking
      these items in the case that they may want reimbursement from either sales proceeds or loan funds at a later
      date, and we were told that they are keeping a separate record of these items. BTY recommends the Lender be
      given copies of these records so they may track how much the Borrower is adding to the project. The Borrower is
      effectively increasing the total budget costs for the project which, although this does not increase the loan
      requirement, it may have an effect on the true cost to complete, the valuation and/or the sales price of the
      project at a later date.


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We note that BTY US, LLC has not been appointed to approve any change orders, although we will review them.
It is the responsibility of the Borrower and the Design Team to undertake a review and subsequently approve any
change orders and provide an update to the budget and schedule accordingly.




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8.0   Project Description
      A summary of the project is as follows:

       Item                                       Comments
                                                  Office/flex/industrial campus. The first phase currently under development
                                                  includes four buildings. In the first group are buildings F, H, and J. These buildings
                                                  are currently two‐stories and will be improved to add two stories above the
       Type of Project                            second floor. The fourth building is Building V, which is currently being partially
                                                  renovated as the Eightfold sales offices and Panache Construction offices. The
                                                  remainder of the building will be renovated at a future date as a medical wellness
                                                  spa.
                                                  The project is located along the east side of Ed Bluestein Blvd. and approximately
       Site Address                               .70 miles south of the Ed Bluestein Blvd/Martin Luther King Blvd intersection, in
                                                  the City of Austin, Travis County, Texas.
                                                  Buildings FHJ and V are existing and are comprised of steel and concrete framed
       Structure
                                                  structures with slabs on grade supported on continuous and spread footings.
                                                  The exterior finishes will generally consist of an aluminum storefront window wall
                                                  and curtain wall systems, architectural painted concrete, EIFS, and metal wall
       Envelope
                                                  panels. amenity terrace areas. The roofing systems shall be a TPO membrane
                                                  system.
                                                  The interior of Building V will have a high level of finishes, including ceramic tile,
                                                  carpet, cabinets & quartz countertops. FHJ will generally be finished to a warm
       Finishes                                   shell in preparation for tenant improvements. We note that the Tenant
                                                  Improvements will be undertaken in conjunction with the tenants. At this time,
                                                  only a portion of Building F Tis are included in the scope of work and budget.
                                                  Standard mechanical and electrical services will be provided for FHJ to take the
                                                  structure to a warm shell, including plumbing & drainage, FCU heating and
                                                  cooling, sprinkler fire protection, power and data/communications, lighting, and
       Services
                                                  security system. Electrical panels and HVAC rough‐in will be provided to the
                                                  tenant areas. The portion of Building V under this contract is to be taken to a
                                                  completed status for MEP. The building will be served by six elevators.
                                                  Site improvements include drives, walkways, parking, landscaping, retaining walls
                                                  and other various improvements related to, and for the benefit of Buildings FHJ
       Site Works
                                                  and V. A “Contractor’s Lounge” (a newly constructed temporary housing facility
                                                  that will provide living quarters for a limited number of workers) is included




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 9.0   Status of Work
       A site visit was carried out by BTY US, LLC on May 1, 2019, and the status of works was as follows:

       Item                               Comments
       Demolition Scope FHJ               Substantially complete.
                                          In progress to Level 4 in FHJ and complete in F and substantially complete in H. Columns
       Structural Steel FHJ
                                          and floor trusses are in progress at J.
                                          Ductwork and piping in progress at Levels 1 thru 4 in F, Levels 1 and 2 in H and Level 1 in J.
       Mechanical FHJ
                                          Certain mechanical units onsite.
                                          Site transformers and switchgear installed or located onsite for F. Rough electric in progress
       Electrical FHJ
                                          in F Levels 1 thru 4 and Levels 1 and 2 in H.
       Plumbing FHJ                       Fire sprinklers and plumbing rough‐in in progress at Levels 1 thru 4 in F, Levels 1 and 2 in H.
       Framing FHJ                        Substantially complete at Levels 1 through 4 in F and in progress at Level 1 in H.
                                          Exterior sheathing and windows in progress at Levels 1 thru 4 in F. Drywall generally
       Finishes FHJ
                                          complete in Levels 1 and 2 in F.
       CSP1 and CSP2                      Buildings in place, electrical gear and meters installed.
                                          Demolition complete and new concrete pads poured. Mechanical, plumbing and electrical
       Central Plant
                                          work ongoing interior and exterior.
                                          Various sitework in progress, landscaping in progress, certain utilities complete and in
       Sitework
                                          progress.
       Building V                         Renovation substantially complete.

       Please refer to the Appendices for copies of the Site Photographs.


10.0   Schedule
       The duration noted in the original schedule for FHJ was 18‐months, it was subsequently updated and indicated
       an approximate 22‐month duration. A further revised schedule, dated as of November 28, 2018 and provided
       previously with Draw No. 5, identified a duration of approximately 23 months or an overall 5‐month increase
       from the original schedule. With the previous Draw 10, and after BTY and our Client repeatedly requested that
       an updated schedule be provided, one was provided for both FHJ and the initial Tis for Work Well Win. The
       schedules were dated April 11, 2019. This period, the dates in the schedules provided remain unchanged.
       The November 28, 2018 schedule for the FHJ Buildings and the Service Facility (not including the TIs) showed a
       start date of January 5, 2017, and a completion date of November 26, 2019. The updated schedule shows a
       completion date of November 28, 2019 for FHJ and the Service Facility. Specifically, and as it relates to the
       current observation by BTY on May 1, 2019, we note that for Buildings FHJ and the Service Facility, the schedule
       generally appears to correlate to the work in place. In the current Draw 11 Progress Report provided by the
       Borrower, they stated that the following, “Just from the beginning of this year, we have had 17 days of weather
       that affected our work… The impact on construction has been substantial but the contractor has been working
       around the clock, seven day per week to minimize the impact on the schedule. We are still going through rain
       patches. We are hoping for this period to end by the end of May and the contractor is having conversations with
       all the subs to see what impact the rain has had.” In the previous progress report provided with Draw 10, the
       Borrower stated that, “It is important to note that the project has lost four weeks due to weather conditions and
       90 days in delays due to lack of funding in accordance with the loan documents.”


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       It is critical for Panache to provide complete, updated construction schedules for FHJ, Service Facility and TI work
       with each draw request in order to quantify delays and their impact on budgets. This is also necessary for BTY to
       comment on progress to date and opine whether it remains on track and if the costs to complete are adequate.
       The previous November 28, 2018 schedule included a completion/turnover date for the Network Group TI scope
       of work of April 16, 2019; however, this was not achieved. The new schedule for the Tis provided with Draw 10
       indicates a completion date of June 15, 2019 – a two‐month delay to date. The Borrower stated that this date is
       acceptable to Network Group.
       We will continue to monitor the progress of the works on site over the coming months and advise accordingly.


11.0   Confirmation of Equity
       As advised by the Lender, the Borrower has met current equity requirements. However, based on the level of
       contingency in the project budget, the identified completion delay and items which remain outstanding as
       detailed throughout the report and specifically within Section 4.0, it appears there may be an upcoming funding
       shortfall without an additional equity injection. It is, however, impossible to quantify the amount of additional
       equity due to the insufficient backup provided to date.


12.0   Lien Waivers
       The following lien waivers from Panache have been received this Draw:

        Lien Waiver Type                                 Entity Name                                           Amount ($)                         Date
                                                                                                            $2,786,111.67
         Unconditional            Panache Development and Construction, Inc.                                                                     5/6/19
                                                                                                              (Draw 10)
                                                                                                            $2,029,480.70
           Conditional            Panache Development and Construction, Inc.                                                                     5/6/19
                                                                                                              (Draw 11)

       A lien waiver tracking log was provided. Unconditional notarized lien releases/waivers (including declaration that
       all accounts have been paid) from all subcontractors/suppliers paid from the preceding draw were requested,
       although not all have been provided.
       Approximately $805,054 in subcontractor unconditional lien waivers were provided for the current Draw 11.
       Approximately $694,452 of subcontractor unconditional waivers have been provided with this draw package for
       the Previous Draw 10, and $587,567 in unconditional lien waivers were previously provided as part of the Draw
       10 package. Using these amounts, a total of $1,282,039 of unconditional waivers have been provided for the
       previous Draw 10 total draw request of $2,786,112 including Panache’s own work.
       The lien waiver tracking summary and all waivers provided for both Panache and the subcontractors are included
       in the Appendices.




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13.0   Project Consultant’s Certificates
       The contractor, Panache, has engaged several consultants to perform inspections for concrete, structural,
       mechanical, electrical and plumbing on the project. This period, Panache provided multiple letters and inspection
       reports covering each of these elements, and no exceptions or failing results were noted. Panache is also working
       with the city inspectors, and no issues have been noted to date. This period, in response to the checklist of
       required documents for each draw (although we note that the draw checklist has not yet been finalized),
       Panache provided copies of the application for payment which was signed and notarized by Panache and the
       Borrower on May 6, 2019, a G702/G703 signed/certified by the architect on May 6, 2019, and an application and
       certificate for payment reviewed and signed by Mint Engineering on May 6, 2019. The application signed by Mint
       is considered to be their proof of inspection; however, the document appears to be no more than a rubber
       stamp.
       BTY US, LLC is not qualified to provide confirmation that the works are being constructed in accordance with the
       approved drawings, specifications and regulatory approvals.


14.0   Contract Status
       A final construction contract dated April 20, 2018 was previously provided which is between Panache
       Development & Construction, Inc., (“Contractor” or “Panache”) and 3443 Zen Garden Limited Partnership, LLC
       ("Owner"). The contract is for the duration of 18 months, commencing, “on or before four (4) business days after
       the latter of (A) the issuance of the completed construction documents and (B) the issuance of the permit by the
       City of Austin and all other entities having permit jurisdiction.” BTY notes that the contract is generally similar to
       a Stipulated Sum type, and that the Borrower and Contractor are related entities.
       We have received copies of the following subcontract agreements (or notices that contracts are forthcoming):

        Trade                                                                        Contractor
                                                                                     Austin Glass – not provided, and reportedly not executed
                                                                                     yet. BTY notes that Panache is already paying Austin
        Glass                                                                        Glass for work to date under an “informal agreement”
                                                                                     which we note as cautionary. We will discuss this again
                                                                                     with Panache at our next site visit.
        Work Well Win Mechanical TI Scope                                            Capital Industries, LLC (provided with Draw 9)

       To date, BTY has been provided with the following subcontracts:

        Trade                                                                        Contractor
        Mechanical (Chiller Plant)                                                   Trane U.S., Inc.
                                                                                     Schindler Elevator Corporation – executed version
        Elevator
                                                                                     provided with Draw 8
        Curtainwall Glass Provider                                                   Kawneer Company, Inc.
        Steel Materials                                                              Wembley Metal Buildings, LLC
        Electrical                                                                   ACM Services Electrical Contractor
        Shell and Core and TI (HVAC)                                                 Capital Industries, LLC


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It appears that, at a minimum, we are missing the following subcontracts:

 Trade                                                                        Contractor
 Structural                                                                   A‐1 Engineering
 Architect                                                                    GSC Architects
 Soil Testing                                                                 ECS Geotech
 MEP                                                                          Mint Engineers
 Electrical                                                                   Schneider Electric
 Land Planner                                                                 Central Texas Development Assessments, Inc.
 Structural/Civil                                                             PSCE, Inc.
 Environmental                                                                Melton
 Electrical                                                                   CT Laborers Electric, LLC
 Paint                                                                        Sherwin Williams
 Electrical                                                                   Solomon Companies
 Electrical                                                                   Hill Country Electric Supply
 Excavation                                                                   Bates Backhoe
 Surveyor                                                                     McMinn Land Surveying Company
 Excavation/Regrading                                                         Summer Legacy
 Fire Sprinkler                                                               Austin Commercial and Residential Plumbing
 Fire Sprinkler                                                               Paul Cervantes
                                                                              Koetter Fire Protection of Austin, LLC (draft version
 Fire Sprinkler
                                                                              provided)
 Fire Sprinkler                                                               Ferguson Enterprises
 Fire Sprinkler                                                               Fastenal
 Concrete                                                                     Texas Concrete
 Fire Sprinkler                                                               Days End Lawn Sprinkler
 Miscellaneous                                                                SA Reconstruction Crew
 Waste management                                                             North American Contractors
 Windows                                                                      Lone Star
 Windows                                                                      Keytech
 Crane                                                                        Texas Crane
 Rentals                                                                      Ahern Rentals

We note that the Subcontractor Vendor Contact Log provided with Draw 11 lists 33 Subcontractors, 82 Servicers
or Suppliers, and 20 Professionals. Once again, and as noted previously, it is clear we do not have copies of the

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       majority of contracts executed – see Appendices for details. BTY requested that Panache setup a new folder on
       the Box site for all contracts (and keep them updated as revisions/additions are made). Panache agreed to do so;
       and on February 7, 2019, a folder was setup and certain draft contracts were uploaded; however, executed
       copies of all subcontracts have not yet been provided. These are recommended to still be provided for review. As
       we have not received copies of all subcontracts, we cannot confirm that the budget is adequate to complete the
       project.


15.0   Interest Reserve Status
       The Total Recommended Advance does not include interest. BTY understands $5,397,045.42 has been collected
       to date through April 22, 2019 which has been reflected in our current Draw Summary – See the Appendices.


16.0   Insurance Coverage
       With Draw 10, Panache provided a Certificate of Insurance Log and certificates of insurance for certain
       subcontractors. Certain of the insurance certificates provided are duplicates of those provided previously.
       We previously received a copy of Panache’s Certificate of Liability Insurance for review (and again this period),
       dated November 9, 2018 which names the Borrower and Lender as additional insured. BTY is not an insurance
       specialist, and we recommend the Lender discuss the insurance provisions within the Loan Agreement and any
       uninsured excess with a specialist insurance practitioner to ensure the scope and level of insurance are
       appropriate for the contemplated works and the extent of the potential risk involved. A copy of Panache’s
       certificate of insurance was previously included Report No. 5.
       We are aware that the Lender has required the Borrower, specifically Adam Zarafshani, to obtain a separate life
       insurance policy in the amount of $10MM. Within the document package for Draw 11, Mr. Zarafshani provided
       the following statement, “We now have the $10 million policy in place and are awaiting a copy. It is two $5
       million policies. Although we do not have a formal agreement in place with Romspen requiring the Keyman
       policy, we did it anyway.” BTY recommends that our Client confirm they have received the balance of the
       insurance policy prior to funding.
       We note that insurance policies and coverage are subject to review and approval of the Lender’s Insurance
       Consultant.


17.0   Sales Status
       3443 Zen Garden Limited Partnership as Landlord, and Network Group, LLC as Tenant, entered into a Lease
       Agreement on October 14, 2017. The lease is for 100,000 rentable square feet designated as the first and second
       floors of Building F, and the term is 120 months. The lease agreement notes that an initial deposit of $411,833
       has been made, and that an additional $411,833 is to be deposited 60 days prior to the commencement date.
       The commencement date is defined as, “the earliest of (a) the date on which Tenant occupies any portion of the
       Premises and begins conducting business therein; or (b) 30 days after the date on which the Work (…) in the
       Premises is Substantially Completed.” The current loan budget includes an allowance of $6,646,380 (or $60/sf)
       for the Landlord’s contribution towards tenant improvements for Building F (all four floors), and the lease
       agreement also notes a $60/sf contribution for the leased space (100,000 sf). A specific calendar
       Commencement Date has not been defined; however, the current schedule notes a June 15, 2019 turnover. See
       Section 10.0 above for additional details on timing issues.




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       The Borrower also provided information for Network Group (Work Well Win) in their Progress Report for Draw
       No. 11 as follows:
       “Network Group –
             a.    Network Group has terminated their interior designer, Cecilia Walker. She was expected to visit Austin
                   in April and May which did not occur. She has handed off the file to Panache’s interior designer, Angela
                   VanDeWalle.
             b.    Network Group has not ordered or finalized their hardware selection which makes the move in date
                   impossible to set. Hardware selection and installation is part of substantial completion and certificate of
                   occupancy. Under Uniform Building Code, Section 1010.1, a copy of which is going to be attached to this
                   report, requires the controlled access hardware to be installed as part of the requirement to obtain
                   temporary occupancy.
             c.    We still have unpaid invoices for their low‐voltage, appliances and lighting. We will keep you posted in
                   that regard.
             d.    We have asked our counsel at Hinshaw and Culbertson to review the lease and they will be sending a
                   letter next week and it will be followed up by other methods according to the lease. Our position is that
                   as of May 1 would have been ready for substantial completion had they performed their obligations
                   under the lease and had not made so many changes to the plans. Our position is very clear that they
                   start burning through their three months of free rent as of May 1. To clarify our objective and concern is
                   that we cannot push the move in date out because of their inefficiency and let our building sit empty
                   without creating revenue. Once they start paying rent, and even if the building is empty, that is their
                   choice within the boundaries of the lease agreement. The point is for them to pay rent.”
       The Borrower did not provide any updates regarding other potential tenants with their current Progress Report.


18.0   Retention
       Industry standard is that 10% retainage be withheld by the Borrower from the prime contractor until 30‐days
       after the occupancy permit has been issued. However, each state varies under this guidance.
       Per the Panache construction contract, retention is not defined; however, in discussions with the Borrower, they
       initially stated at the start of the project that they would be withholding retention on certain
       scopes/subcontractors on an as‐needed basis. They subsequently revised this, stating, “We do not retain funds
       from subs (…) this has been clarified on multiple occasions. They work from week to week. I do not know what
       else to say to clarify this for you. If the work is not done by the end of the week, they are not paid. We only have
       one large contract and on the material contract, we pay for what is delivered. No one does retainage on
       material. Again, the large contracts are not executed due to funding delays.”
       A Holdback Log was provided which does show a minor amount of retention being withheld on three of seven
       specific contracts with payments to date ($149,312 of $12,435,811 draws to date, including this period). BTY’s
       opinion remains that additional retention should be being held by Panache.
       The loan agreement provided does not enumerate retainage other than that the Lender, “may withhold from all
       Additional Advances amounts necessary to comply with applicable statutory mechanics’ lien retainage
       requirements”.
       Without retention being held, it is difficult for a general contractor to get the subs to finish work, and we do not
       recommend this methodology.

       NOTE:       BTY will not be monitoring the Borrower’s administration of the retention funds, BTY will only report to
                   the Lender on the information received from the Borrower. It is solely the Borrower’s responsibility to
                   ensure that the proper funds are deposited into the appropriate accounts as required by legislation.
                   BTY will approve loan advances on a total payment basis, which includes the retention sums.

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19.0   Municipal Approvals
       We confirm that the municipal approvals listed below have been granted at this time. The permits outline the
       project scope and development parameters, which shall be monitored through the course of construction by the
       City of Austin, to ensure compliance.

       Permit                                   Permit No.                              Date Issued           Comments
       FHJ exterior façade work                 2017‐112310 BP                          9/11/17               Copy previously provided
       FHJ Building Permit                      2018‐008415 BP                          1/23/18               Full permit for FHJ (viewed online)
       FHJ Structural Steel                     2018‐004035 BP                          1/11/18               Viewed online
       Building V                               2018‐050555 BP                          3/8/18                Copy previously provided
                                                                                                              Copy provided 10/15/19. Expiration Date
                                                                                                              noted as 3/19/19 – see expiry notes
       Work Well Coworking TI’s                 2018‐164751 BP                          9/20/18               below. Separate permits appear required
                                                                                                              for mechanical, electrical and plumbing,
                                                                                                              and such will be requested next period.
       Central Plant Mechanical
                                                2019‐072574 MP                          5/10/19               Provided on May 17, 2019
       Permit

       Note regarding permit expirations: Per City of Austin Code Chapter 25‐12, Article 13: A permit expires on the
       181st day if the project has not scheduled nor received an inspection. A "Cancelled" and/or "Failed/No Work
       Performed" inspection result does not extend the expiration date.
       The expiration date for the Work Well Coworking is noted to have passed; however, as discussed with the
       Borrower onsite previously on April 4, 2019, certain inspections have occurred, and the permit has been
       extended. BTY also performed a check on the City of Austin’s Code and Permit tracker website
       (https://austin.civicinsight.com/). Using the TI permit number (2018‐164751), we confirmed that all permits
       remain active, and most show a new expiration date of October 15, 2019.

       Copies of, and commentary on, additional permits will be included in our future draw reports.
       Previously, BTY was provided with a copy of the Borrower’s application for a zoning approval of a Plan
       Development Area dated October 31, 2017. An update was provided within the Borrower’s Progress Report for
       Draw No. 11 as follows: “The PDA is in its final stages of processing. The staff is not willing to recommend beyond
       120 in height throughout for campus and 185 for either B or C. We like the idea of building C because it makes an
       incredible co‐living space and because it is short term, we do not have to worry about restrictive covenants. The
       package that is attached, PDA ‐ Eightfold Collection presentation, is what is being circulated through counsel
       members. The mayor’s office has committed into seeing this through. We are now lobbying the council
       members. Please note that there are a few developers with a lot of powerful connections that see Eightfold’s
       growth as taking away from their development, so they are actively working to slow down our process. However,
       this is part of every development and we are going to stay our course.”




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PROJECT MONITORING CLAIM REPORT

Eightfold
APPENDICES
Appendix 1: Loan Advance Certificate & Draw Summary
Appendix 2: Lien Waivers
Appendix 3: Site Photographs
Appendix 4: Other Draw Backup




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T 480 440 6215
APPENDIX 1

Loan Advance Certificate &
Draw Summary
Loan Advance Recommendation Certificate
Project: Eightfold
Location: Austin, TX




  Insp. Date:        May 1, 2019
  Claim No:                    11


  LENDER:                                                              BORROWER:
  Romspen Mortgage, L.P.                                               3443 Zen Garden Limited Partnership
  162 Cumberland Street, Suite 300                                     2833 Broadmoor Blvd.
  Calgary, AB T2P 2W2                                                  Sherwood Park
                                                                       Alberta, Canada T8H 3H3

  Attention: Mr. Blake Cassidy                                         Attention: Mr. Adam Zarafshani

                                                      Loan Budget            PACE Budget                Total
  Original Project Budget                         $       104,176,020 $             25,000,000 $         129,176,021
  Approved Budget Revisions                       $         (1,650,431) $                    0 $           (1,650,431)
  REVISED PROJECT BUDGET                          $       102,525,589 $            25,000,000 $          127,525,590       100.0%

  Original Loan Amount                            $       102,525,589 $             25,000,000 $         127,525,589
  Less: Purchaser's Deposits                      $                 0 $                      0 $                    0
  Approved Loan Revisions                         $                 0 $                      0 $                    0
  REVISED LOAN AMOUNT                             $       102,525,589 $            25,000,000 $          127,525,589       100.0%

  Original Equity Requirement                     $                 0 $                      0 $                    0
  Approved Equity Revisions                       $                 0 $                      0 $                    0
  REVISED EQUITY REQUIREMENT                      $                 0 $                      0 $                    0         0.0%

  Work In Place
  Construction                                    $        33,068,475 $                      0 $           33,068,475
  Development                                     $         42,530,872 $                     0 $           42,530,872
  TOTAL WORK IN PLACE                             $         75,599,347 $                     0 $          75,599,347         59.3%

  Cost to Complete
  Construction                                    $        18,985,340 $             23,569,490 $           42,554,830
  Development                                     $          7,940,903 $              1,430,511 $            9,371,413
  TOTAL COST TO COMPLETE                          $         26,926,241 $            25,000,000 $          51,926,243         40.7%

  Advance Calculation
  Revised Loan Amount                             $       102,525,589 $             25,000,000 $         127,525,589
  Less: Cost to Complete                          $        (26,926,241) $          (25,000,000) $         (51,926,241)
  Gross Amount Available to Advance               $         75,599,348 $                     0 $           75,599,348        59.3%
  Less: Previous Advances                         $        (73,569,866) $                    0 $          (73,569,866)
  NET AMOUNT THIS ADVANCE:                        $         2,029,481 $                      0 $             2,029,481        1.6%


  RECOMMENDED BY:                                                      REVIEWED BY:




                                      21‐May‐19                                                                          21‐May‐19
  Jason S. Corwin, CPC                                                 Alistair Dearie MRICS, PQS
  Director                                                             Partner




BTY US, LLC
5/21/2019
File No. US9874
                                                                                                                          Page 1 of 15
Progress Claim Form
Project: Eightfold
Location: Austin, TX
Lender: Romspen Mortgage, L.P.
Borrower: 3443 Zen Garden Limited Partnership
Claim No: 11



                                 OVERALL SUMMARY                              (1)            (2)            (5)             (6)                (7)                (8)                (9)
                                                                           ORIGINAL        OVERALL        CURRENT        PREVIOUS           CURRENT             TOTAL              COST TO
                  CODE           ELEMENT                                   BUDGET         REVISIONS       BUDGET          CLAIM              CLAIM              CLAIM             COMPLETE
                                                                                            (5‐1)                                             (8‐6)                                 (5‐8)

                  FHJ (LOAN)     HARD COSTS                                  39,109,970               0     39,109,970   19,965,109   51%   1,547,802     4%   21,512,911   55%   17,597,060   45%

                  FHJ (LOAN)     SOFT COSTS                                   2,125,890               0      2,125,890    1,758,294   83%       3,462     0%    1,761,756   83%     364,134    17%

                                 SUBTOTAL FHJ ‐ LOAN BUDGET                  41,235,860               0     41,235,860   21,723,403   53%   1,551,263     4%   23,274,666   56%   17,961,194   44%


                  FHJ (PACE)     HARD COSTS                                  15,841,603               0     15,841,603           0    0%              0   0%            0   0%    15,841,603   100%

                  FHJ (PACE)     SOFT COSTS                                    443,000                0       443,000            0    0%              0   0%            0   0%      443,000    100%

                                 SUBTOTAL FHJ ‐ PACE BUDGET                  16,284,603               0     16,284,603           0    0%              0   0%            0   0%    16,284,603   100%


                  INFRA (LOAN)   HARD COSTS                                  12,943,845               0     12,943,845   11,386,882   88%     168,683     1%   11,555,565   89%    1,388,280   11%

                  INFRA (LOAN)   SOFT COSTS                                    825,778                0       825,778      672,668    81%       2,507     0%     675,175    82%     150,604    18%

                                 SUBTOTAL SERVICE FACILITY ‐ LOAN BUDGET     13,769,623               0     13,769,623   12,059,549   88%     171,190     1%   12,230,739   89%    1,538,883   11%


                  INFRA (PACE)   HARD COSTS                                   7,727,887               0      7,727,887           0    0%              0   0%            0   0%     7,727,887   100%

                  INFRA (PACE)   SOFT COSTS                                    195,000                0       195,000            0    0%              0   0%            0   0%      195,000    100%

                                 SUBTOTAL SERVICE FACILITY ‐ PACE BUDGET      7,922,887               0      7,922,887           0    0%              0   0%            0   0%     7,922,887   100%


                  OTHER (LOAN)   MISCELLANEOUS COSTS                         46,901,838               0     46,901,838   39,786,914   85%     307,027     1%   40,093,941   85%    6,807,897   15%

                  OTHER (LOAN)   CONTINGENCY                                  2,268,699     (1,650,431)       618,268            0    0%              0   0%            0   0%      618,268    100%

                                 SUBTOTAL OTHER ‐ LOAN BUDGET                49,170,537     (1,650,431)     47,520,106   39,786,914   84%     307,027     1%   40,093,941   84%    7,426,165   16%


                  OTHER (PACE)   MISCELLANEOUS COSTS                           792,511                0       792,511            0    0%              0   0%            0   0%      792,511    100%

                  OTHER (PACE)   CONTINGENCY                                          0               0             0            0    0%              0   0%            0   0%            0     0%

                                 SUBTOTAL OTHER ‐ PACE BUDGET                  792,511                0       792,511            0    0%              0   0%            0   0%      792,511    100%


                                 TOTAL PROJECT COSTS                        129,176,020     (1,650,431)    127,525,589   73,569,866   58%   2,029,481     2%   75,599,347   59%   51,926,243   41%




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Borrower: 3443 Zen Garden Limited Partnership
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                  BUILDINGS F, H AND J (FHJ) ‐ LOAN BUDGET      (1)            (2)            (5)             (6)                (7)              (8)                (9)
                                                             ORIGINAL        OVERALL        CURRENT        PREVIOUS           CURRENT           TOTAL              COST TO
                  ITEM           ELEMENT                     BUDGET         REVISIONS       BUDGET          CLAIM              CLAIM            CLAIM             COMPLETE
                                                                              (5‐1)                                             (8‐6)                               (5‐8)

                  FHJ            GENERAL REQUIREMENTS           3,324,309               0      3,324,309    2,510,179   76%     144,738   4%    2,654,917   80%     669,392    20%

                  FHJ            HARD COSTS                    35,785,661               0     35,785,661   17,454,931   49%   1,403,063   4%   18,857,994   53%   16,927,668   47%

                                 TOTAL CONSTRUCTION            39,109,970               0     39,109,970   19,965,109   51%   1,547,802   4%   21,512,911   55%   17,597,060   45%



                        FHJ ‐SOFT CONSULTANTS                   1,921,849               0      1,921,849    1,691,472   88%       2,225   0%    1,693,696   88%     228,153    12%

                        FHJ ‐SOFT PERMITS AND INSPECTIONS        204,041                0       204,041       66,823    33%       1,237   1%      68,060    33%     135,981    67%

                                 TOTAL DEVELOPMENT              2,125,890               0      2,125,890    1,758,294   83%       3,462   0%    1,761,756   83%     364,134    17%


                                 TOTAL PROJECT COSTS           41,235,860               0     41,235,860   21,723,403   53%   1,551,263   4%   23,274,666   56%   17,961,194   44%




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                  BUILDINGS F, H AND J (FHJ) ‐ LOAN BUDGET                           (1)            (2)            (5)             (6)                 (7)                (8)                 (9)
                                                                                  ORIGINAL        OVERALL        CURRENT        PREVIOUS            CURRENT             TOTAL               COST TO
                  ITEM         ELEMENT                                            BUDGET         REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM              COMPLETE
                                                                                                   (5‐1)                                              (8‐6)                                  (5‐8)

                  FHJ ‐ GC's   Site Administration                                    849,309                0       849,309      489,943    58%       51,743     6%     541,686    64%      307,623    36%

                  FHJ ‐ GC's   Construction Management                               2,200,000               0      2,200,000    1,745,236   79%       92,996     4%    1,838,231   84%      361,769    16%

                  FHJ ‐ GC's   General Liability Insurance                             90,000                0        90,000       90,000    100%             0   0%      90,000    100%           0     0%

                  FHJ ‐ GC's   Builder's Risk Insurance                               185,000                0       185,000      185,000    100%             0   0%     185,000    100%           0     0%

                               Subtotal General Requirements                         3,324,309               0     3,324,309     2,510,179   76%      144,738     4%    2,654,917   80%      669,392    20%


                  FHJ          Fire Sprinkler                                         342,583                0       342,583       69,512    20%       48,634     14%    118,146    34%      224,437    66%

                  FHJ          Fire Alarm System                                      321,150                0       321,150       11,250     4%              0   0%      11,250     4%      309,900    96%

                  FHJ          Fire Extinguishers and Cabinets                         21,000                0        21,000            0     0%              0   0%            0    0%       21,000    100%

                  FHJ          Handrailings for Fire Escape                           120,000                0       120,000       45,831    38%       14,261     12%     60,092    50%       59,908    50%

                  FHJ          Firewall Separation                                    136,000                0       136,000       31,459    23%              0   0%      31,459    23%      104,541    77%

                  FHJ          Fire Retardant and Treatment                           189,200                0       189,200            0     0%       44,927     24%     44,927    24%      144,273    76%

                  FHJ          CMU for stairwells for fire safety                     280,000                0       280,000      196,260    70%       45,726     16%    241,985    86%       38,015    14%

                  FHJ          CMU for elevators for fire safety                      240,000                0       240,000      167,608    70%       57,283     24%    224,891    94%       15,109     6%

                  FHJ          Demolition (balance to complete)                       534,000                0       534,000      534,000    100%             0   0%     534,000    100%           0     0%

                  FHJ          Mechanical Systems                                    3,371,620               0      3,371,620    2,131,694   63%      112,190     3%    2,243,883   67%     1,127,737   33%

                  FHJ          Solar (Placeholder)                                           0               0             0            0     0%              0   0%            0    0%            0     0%

                  FHJ          Electrical                                            2,044,146               0      2,044,146    1,111,917   54%       79,028     4%    1,190,945   58%      853,201    42%

                  FHJ          Interior Lighting and controls                        1,300,000               0      1,300,000      72,048     6%       22,387     2%      94,435     7%     1,205,565   93%

                  FHJ          Access Controls and Security System                    120,000                0       120,000            0     0%              0   0%            0    0%      120,000    100%

                  FHJ          Building Controls                                       85,000                0        85,000        1,091     1%       17,300     20%     18,391    22%       66,609    78%

                  FHJ          Roofing                                               1,103,397               0      1,103,397     791,040    72%       65,453     6%     856,493    78%      246,904    22%

                  FHJ          Windows/Glazing                                       5,870,200               0      5,870,200    1,927,004   33%      334,750     6%    2,261,755   39%     3,608,445   61%

                  FHJ          Drywall                                                450,000                0       450,000       19,457     4%       54,840     12%     74,296    17%      375,704    83%

                  FHJ          Interior Framing                                      1,348,648               0      1,348,648     460,464    34%       37,680     3%     498,144    37%      850,504    63%

                  FHJ          Insulation                                             406,324                0       406,324            0     0%       25,767     6%      25,767     6%      380,557    94%

                  FHJ          Acoustical Ceiling                                     170,000                0       170,000            0     0%              0   0%            0    0%      170,000    100%

                  FHJ          Elevators (New)                                        625,000                0       625,000      236,316    38%        7,824     1%     244,140    39%      380,860    61%

                  FHJ          Retro Exist Elevators                                  700,000                0       700,000      149,878    21%        2,640     0%     152,518    22%      547,482    78%

                  FHJ          Remediate Exist Elevators                              480,000                0       480,000      139,803    29%       36,626     8%     176,430    37%      303,570    63%

                  FHJ          Structural Steel for Floors 3&4                       6,380,000               0     6,380,000     6,295,270   99%       68,269     1%    6,363,539   100%      16,461     0%

                  FHJ          Interior Painting                                      390,000                0       390,000       23,161     6%       20,200     5%      43,361    11%      346,639    89%

                  FHJ          Plumbing                                              1,200,000               0      1,200,000     873,778    73%       59,589     5%     933,367    78%      266,633    22%

                  FHJ          Plumbing Fixtures                                       90,000                0        90,000            0     0%        4,700     5%       4,700     5%       85,300    95%

                  FHJ          Concrete for Decking (2 New Floors per Building)      2,380,000        (75,000)      2,305,000    1,194,609   52%      113,177     5%    1,307,786   57%      997,214    43%

                  FHJ          Rebuilding Lobby Foundation/Walls                      280,000                0       280,000       86,505    31%       25,685     9%     112,190    40%      167,810    60%

                  FHJ          Concrete and Concrete Coring                           275,000          75,000        350,000      346,940    99%        3,054     1%     349,994    100%           6     0%

                  FHJ          French Drains                                          110,000                0       110,000       28,494    26%              0   0%      28,494    26%       81,506    74%

                  FHJ          Restrooms                                              560,000                0       560,000        2,266     0%       11,412     2%      13,678     2%      546,322    98%

                  FHJ          Lobbies                                                720,000                0       720,000        3,335     0%         608      0%       3,943     1%      716,057    99%

                  FHJ          Lobby Furniture                                        296,000                0       296,000            0     0%              0   0%            0    0%      296,000    100%

                  FHJ          Roof Water Collection System                           185,000                0       185,000      171,861    93%              0   0%     171,861    93%       13,139     7%

                  FHJ          Exterior Doors                                         125,000                0       125,000            0     0%              0   0%            0    0%      125,000    100%

                  FHJ          Interior Doors                                         178,000                0       178,000            0     0%              0   0%            0    0%      178,000    100%




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Borrower: 3443 Zen Garden Limited Partnership
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                  BUILDINGS F, H AND J (FHJ) ‐ LOAN BUDGET                   (1)            (2)            (5)             (6)                 (7)                (8)                  (9)
                                                                          ORIGINAL        OVERALL        CURRENT        PREVIOUS            CURRENT             TOTAL                COST TO
                  ITEM         ELEMENT                                    BUDGET         REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM               COMPLETE
                                                                                           (5‐1)                                              (8‐6)                                   (5‐8)

                  FHJ          Interior Fire Escapes                          280,000                0       280,000       35,200    13%      23,950      9%      59,150     21%      220,850    79%

                  FHJ          Flooring                                       674,324                0       674,324       33,400     5%      49,546      7%      82,945     12%      591,379    88%

                  FHJ          Theater Remediation                            400,000                0       400,000       50,000    13%              0   0%      50,000     13%      350,000    88%

                  FHJ          Gym                                            175,000                0       175,000       39,153    22%              0   0%      39,153     22%      135,847    78%

                  FHJ          Millwork                                       300,000                0       300,000            0     0%              0   0%             0    0%      300,000    100%

                  FHJ          Hardware                                        68,000                0        68,000          517     1%              0   0%         517      1%       67,483    99%

                  FHJ          Solid Surfaces                                  80,000                0        80,000        6,604     8%       2,568      3%        9,173    11%       70,827    89%

                  FHJ          Signage                                        101,070                0       101,070           77     0%              0   0%            77    0%      100,993    100%

                  FHJ          Exterior Renovation                            280,000                0       280,000      167,132    60%      12,990      5%     180,122     64%       99,878    36%

                               Subtotal Hard Costs                          35,785,661               0     35,785,661   17,454,931   49%    1,403,063     4%   18,857,994    53%    16,927,668   47%



                               TOTAL CONSTRUCTION                           39,109,970               0     39,109,970   19,965,109   51%    1,547,802     4%   21,512,911    55%    17,597,060   45%



                  FHJ ‐ Soft   Architectural Fees                             759,392                0       759,392      757,167    100%      2,225      0%     759,392     100%          (0)    0%

                  FHJ ‐ Soft   Structural Engineering Fees                    485,000                0       485,000      462,000    95%              0   0%     462,000     95%       23,000     5%

                  FHJ ‐ Soft   Environmental Engineering Fees                  62,000                0        62,000            0     0%              0   0%             0    0%       62,000    100%

                  FHJ ‐ Soft   Soil Engineering Fees                           79,000                0        79,000       37,748    48%              0   0%      37,748     48%       41,252    52%

                  FHJ ‐ Soft   Mechanical Engineering Fees                    371,458                0       371,458      346,093    93%              0   0%     346,093     93%       25,365     7%

                  FHJ ‐ Soft   Civil Engineering Fees                          75,000                0        75,000       47,664    64%              0   0%      47,664     64%       27,336    36%

                  FHJ ‐ Soft   Interior Design Fees                            90,000                0        90,000       40,800    45%              0   0%      40,800     45%       49,200    55%

                  FHJ ‐ Soft   Permits Fees and Third Party Inspections       204,041                0       204,041       66,823    33%       1,237      1%      68,060     33%      135,981    67%

                               Subtotal Consultants & Misc.                  2,125,890               0      2,125,890    1,758,294   83%       3,462      0%    1,761,756    83%      364,134    17%


                               TOTAL DEVELOPMENT                             2,125,890               0      2,125,890    1,758,294   83%       3,462      0%    1,761,756    83%      364,134    17%




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                  BUILDINGS F, H AND J (FHJ) ‐ PACE BUDGET      (1)            (2)            (5)             (6)             (7)               (8)               (9)
                                                             ORIGINAL        OVERALL        CURRENT        PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM           ELEMENT                     BUDGET         REVISIONS       BUDGET          CLAIM           CLAIM             CLAIM            COMPLETE
                                                                              (5‐1)                                          (8‐6)                               (5‐8)

                  FHJ            GENERAL REQUIREMENTS                   0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ            HARD COSTS                    15,841,603               0     15,841,603          0   0%             0   0%           0   0%   15,841,603   100%

                                 TOTAL CONSTRUCTION            15,841,603               0     15,841,603          0   0%             0   0%           0   0%   15,841,603   100%



                        FHJ ‐SOFT CONSULTANTS                    365,000                0       365,000           0   0%             0   0%           0   0%     365,000    100%

                        FHJ ‐SOFT PERMITS AND INSPECTIONS         78,000                0        78,000           0   0%             0   0%           0   0%      78,000    100%

                                 TOTAL DEVELOPMENT               443,000                0       443,000           0   0%             0   0%           0   0%     443,000    100%


                                 TOTAL PROJECT COSTS           16,284,603               0     16,284,603          0   0%             0   0%           0   0%   16,284,603   100%




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                  BUILDINGS F, H AND J (FHJ) ‐ PACE BUDGET                           (1)            (2)            (5)             (6)             (7)               (8)               (9)
                                                                                  ORIGINAL        OVERALL        CURRENT        PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM         ELEMENT                                            BUDGET         REVISIONS       BUDGET          CLAIM           CLAIM             CLAIM            COMPLETE
                                                                                                   (5‐1)                                          (8‐6)                               (5‐8)

                  FHJ ‐ GC's   Site Administration                                           0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ GC's   Construction Management                                       0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ GC's   General Liability Insurance                                   0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ GC's   Builder's Risk Insurance                                      0               0             0           0   0%             0   0%           0   0%           0     0%

                               Subtotal General Requirements                                 0               0             0           0   0%             0   0%           0   0%           0     0%


                  FHJ          Fire Sprinkler                                         352,000                0       352,000           0   0%             0   0%           0   0%     352,000    100%

                  FHJ          Fire Alarm System                                             0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Fire Extinguishers and Cabinets                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Handrailings for Fire Escape                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Firewall Separation                                           0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Fire Retardant and Treatment                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          CMU for stairwells for fire safety                            0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          CMU for elevators for fire safety                             0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Demolition (balance to complete)                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Mechanical Systems                                    1,600,000               0      1,600,000          0   0%             0   0%           0   0%    1,600,000   100%

                  FHJ          Solar (Placeholder)                                   4,397,000               0      4,397,000          0   0%             0   0%           0   0%    4,397,000   100%

                  FHJ          Electrical                                            1,300,000               0      1,300,000          0   0%             0   0%           0   0%    1,300,000   100%

                  FHJ          Interior Lighting and controls                         895,000                0       895,000           0   0%             0   0%           0   0%     895,000    100%

                  FHJ          Access Controls and Security System                           0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Building Controls                                             0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Roofing                                               2,146,603               0      2,146,603          0   0%             0   0%           0   0%    2,146,603   100%

                  FHJ          Windows/Glazing                                       4,200,000               0      4,200,000          0   0%             0   0%           0   0%    4,200,000   100%

                  FHJ          Drywall                                                       0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Interior Framing                                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Insulation                                             363,000                0       363,000           0   0%             0   0%           0   0%     363,000    100%

                  FHJ          Acoustical Ceiling                                            0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Elevators (New)                                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Retro Exist Elevators                                         0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Remediate Exist Elevators                                     0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Structural Steel for Floors 3&4                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Interior Painting                                             0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Plumbing                                               378,000                0       378,000           0   0%             0   0%           0   0%     378,000    100%

                  FHJ          Plumbing Fixtures                                      210,000                0       210,000           0   0%             0   0%           0   0%     210,000    100%

                  FHJ          Concrete for Decking (2 New Floors per Building)              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Rebuilding Lobby Foundation/Walls                             0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Concrete and Concrete Coring                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          French Drains                                                 0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Restrooms                                                     0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Lobbies                                                       0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Lobby Furniture                                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Roof Water Collection System                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Exterior Doors                                                0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Interior Doors                                                0               0             0           0   0%             0   0%           0   0%           0     0%




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Progress Claim Form
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                  BUILDINGS F, H AND J (FHJ) ‐ PACE BUDGET                   (1)            (2)            (5)             (6)             (7)               (8)               (9)
                                                                          ORIGINAL        OVERALL        CURRENT        PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM         ELEMENT                                    BUDGET         REVISIONS       BUDGET          CLAIM           CLAIM             CLAIM            COMPLETE
                                                                                           (5‐1)                                          (8‐6)                               (5‐8)

                  FHJ          Interior Fire Escapes                                 0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Flooring                                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Theater Remediation                                   0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Gym                                                   0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Millwork                                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Hardware                                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Solid Surfaces                                        0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Signage                                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ          Exterior Renovation                                   0               0             0           0   0%             0   0%           0   0%           0     0%

                               Subtotal Hard Costs                          15,841,603               0     15,841,603          0   0%             0   0%           0   0%   15,841,603   100%



                               TOTAL CONSTRUCTION                           15,841,603               0     15,841,603          0   0%             0   0%           0   0%   15,841,603   100%



                  FHJ ‐ Soft   Architectural Fees                                    0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Structural Engineering Fees                           0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Environmental Engineering Fees                        0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Soil Engineering Fees                                 0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Mechanical Engineering Fees                    365,000                0       365,000           0   0%             0   0%           0   0%     365,000    100%

                  FHJ ‐ Soft   Civil Engineering Fees                                0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Interior Design Fees                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ ‐ Soft   Permits Fees and Third Party Inspections        78,000                0        78,000           0   0%             0   0%           0   0%      78,000    100%

                               Subtotal Consultants & Misc.                   443,000                0       443,000           0   0%             0   0%           0   0%     443,000    100%


                               TOTAL DEVELOPMENT                              443,000                0       443,000           0   0%             0   0%           0   0%     443,000    100%




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Borrower: 3443 Zen Garden Limited Partnership
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                                 SERVICE FACILITY ‐ LOAN BUDGET      (1)            (2)            (5)             (6)                 (7)                (8)                 (9)
                                                                  ORIGINAL        OVERALL        CURRENT        PREVIOUS            CURRENT             TOTAL               COST TO
                  ITEM           ELEMENT                          BUDGET         REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM              COMPLETE
                                                                                   (5‐1)                                              (8‐6)                                  (5‐8)

                  FHJ            GENERAL REQUIREMENTS                 870,187                0       870,187      621,321    71%        9,792     1%     631,113    73%      239,074    27%

                  FHJ            HARD COSTS                         12,073,658               0     12,073,658   10,765,561   89%      158,891     1%   10,924,452   90%     1,149,206   10%

                                 TOTAL CONSTRUCTION                 12,943,845               0     12,943,845   11,386,882   88%      168,683     1%   11,555,565   89%     1,388,280   11%



                        FHJ ‐SOFT CONSULTANTS                         755,289                0       755,289      602,178    80%        2,507     0%     604,685    80%      150,604    20%

                        FHJ ‐SOFT PERMITTING                           70,490                0        70,490       70,490    100%             0   0%      70,490    100%           0    0%

                                 TOTAL DEVELOPMENT                    825,778                0       825,778      672,668    81%        2,507     0%     675,175    82%      150,604    18%


                                 TOTAL PROJECT COSTS                13,769,623               0     13,769,623   12,059,549   88%      171,190     1%   12,230,739   89%     1,538,883   11%




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                                 SERVICE FACILITY ‐ LOAN BUDGET                         (1)            (2)            (5)             (6)                 (7)                (8)                 (9)
                                                                                     ORIGINAL        OVERALL        CURRENT        PREVIOUS            CURRENT             TOTAL               COST TO
                  ITEM           ELEMENT                                             BUDGET         REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM              COMPLETE
                                                                                                      (5‐1)                                              (8‐6)                                  (5‐8)

                  Infra ‐ GC's   Insurance                                               180,000                0       180,000      167,333    93%              0   0%     167,333    93%       12,667     7%

                  Infra ‐ GC's   Utilities                                               295,000                0       295,000      136,024    46%        4,458     2%     140,482    48%      154,518    52%

                  Infra ‐ GC's   Waste Management                                        278,187                0       278,187      267,990    96%        5,334     2%     273,324    98%        4,863     2%

                  Infra ‐ GC's   Security                                                 42,000                0        42,000       40,729    97%              0   0%      40,729    97%        1,271     3%

                  Infra ‐ GC's   Temporary Fencing and Erosion Control                    75,000                0        75,000        9,245    12%              0   0%        9,245   12%       65,755    88%

                                 Subtotal General Requirements                           870,187                0       870,187      621,321    71%        9,792     1%     631,113    73%      239,074    27%


                  Infra ‐ HC     Electric Grid                                          1,900,000               0      1,900,000    1,837,537   97%       42,778     2%    1,880,315   99%       19,685     1%

                  Infra ‐ HC     Service Facility for Sewer System Repairs               277,598                0       277,598      180,653    65%       12,685     5%     193,338    70%       84,259    30%

                  Infra ‐ HC     Creek Restoration                                       354,106                0       354,106      113,999    32%              0   0%     113,999    32%      240,106    68%

                  Infra ‐ HC     Restoration of Common Areas                             680,005                0       680,005      636,355    94%       41,767     6%     678,121    100%       1,884     0%

                  Infra ‐ HC     Excavation and Regrading                                366,640                0       366,640      193,411    53%        6,298     2%     199,708    54%      166,932    46%

                  Infra ‐ HC     Restoration of French Drains                                   0               0             0            0     0%              0   0%            0    0%            0     0%

                  Infra ‐ HC     Renovation of Fire Sprinkler System                     225,844                0       225,844      225,844    100%             0   0%     225,844    100%           0     0%

                  Infra ‐ HC     Streets and Sidewalks                                   231,451                0       231,451       93,667    40%              0   0%      93,667    40%      137,784    60%

                  Infra ‐ HC     Exterior Lighting                                       100,000                0       100,000       99,073    99%              0   0%      99,073    99%          927     1%

                  Infra ‐ HC     Rebuilding of Retaining Walls                           315,000                0       315,000            0     0%              0   0%            0    0%      315,000    100%

                  Infra ‐ HC     Building V ‐ Leasing Center                             548,014                0       548,014      548,014    100%             0   0%     548,014    100%           0     0%

                  Infra ‐ HC     Contractor's Lounge                                      75,000                0        75,000       75,000    100%             0   0%      75,000    100%           0     0%

                  Infra ‐ HC     Mechanical: Chillers, Thermal, Pumps, Cool Towers      6,200,000               0      6,200,000    5,966,783   96%       55,363     1%    6,022,146   97%      177,854     3%

                  Infra ‐ HC     CPU Demolition and Retrofit                             800,000                0       800,000      795,225    99%              0   0%     795,225    99%        4,775     1%

                                 Subtotal Hard Costs                                   12,073,658               0     12,073,658   10,765,561   89%      158,891     1%   10,924,452   90%     1,149,206   10%



                                 TOTAL CONSTRUCTION                                    12,943,845               0     12,943,845   11,386,882   88%      168,683     1%   11,555,565   89%     1,388,280   11%



                  Infra ‐ Soft   Master Land Planner                                      96,863                0        96,863       67,415    70%        2,057     2%      69,473    72%       27,390    28%

                  Infra ‐ Soft   Legal                                                   198,052                0       198,052      198,052    100%             0   0%     198,052    100%           0     0%

                  Infra ‐ Soft   MEP                                                     272,808                0       272,808      170,744    63%              0   0%     170,744    63%      102,064    37%

                  Infra ‐ Soft   Civil Engineer                                           92,653                0        92,653       91,566    99%         450      0%      92,016    99%          637     1%

                  Infra ‐ Soft   Surveys                                                  68,913                0        68,913       48,400    70%              0   0%      48,400    70%       20,512    30%

                  Infra ‐ Soft   Appraisal                                                26,000                0        26,000       26,000    100%             0   0%      26,000    100%           0     0%

                  Infra ‐ Soft   Permitting Fees                                          70,490                0        70,490       70,490    100%             0   0%      70,490    100%           0     0%

                                 Subtotal Consultants & Misc.                            825,778                0       825,778      672,668    81%        2,507     0%     675,175    82%      150,604    18%


                                 TOTAL DEVELOPMENT                                       825,778                0       825,778      672,668    81%        2,507     0%     675,175    82%      150,604    18%




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                                 SERVICE FACILITY ‐ PACE BUDGET      (1)            (2)            (5)             (6)             (7)               (8)               (9)
                                                                  ORIGINAL        OVERALL        CURRENT        PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM           ELEMENT                          BUDGET         REVISIONS       BUDGET          CLAIM           CLAIM             CLAIM            COMPLETE
                                                                                   (5‐1)                                          (8‐6)                               (5‐8)

                  FHJ            GENERAL REQUIREMENTS                        0               0             0           0   0%             0   0%           0   0%           0     0%

                  FHJ            HARD COSTS                          7,727,887               0      7,727,887          0   0%             0   0%           0   0%    7,727,887   100%

                                 TOTAL CONSTRUCTION                  7,727,887               0      7,727,887          0   0%             0   0%           0   0%    7,727,887   100%



                        FHJ ‐SOFT CONSULTANTS                         195,000                0       195,000           0   0%             0   0%           0   0%     195,000    100%

                        FHJ ‐SOFT PERMITTING                                 0               0             0           0   0%             0   0%           0   0%           0     0%

                                 TOTAL DEVELOPMENT                    195,000                0       195,000           0   0%             0   0%           0   0%     195,000    100%


                                 TOTAL PROJECT COSTS                 7,922,887               0      7,922,887          0   0%             0   0%           0   0%    7,922,887   100%




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                                 SERVICE FACILITY ‐ PACE BUDGET                         (1)            (2)            (5)             (6)             (7)               (8)               (9)
                                                                                     ORIGINAL        OVERALL        CURRENT        PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM           ELEMENT                                             BUDGET         REVISIONS       BUDGET          CLAIM           CLAIM             CLAIM            COMPLETE
                                                                                                      (5‐1)                                          (8‐6)                               (5‐8)

                  Infra ‐ GC's   Insurance                                                      0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ GC's   Utilities                                                      0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ GC's   Waste Management                                               0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ GC's   Security                                                       0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ GC's   Temporary Fencing and Erosion Control                          0               0             0           0   0%             0   0%           0   0%           0     0%

                                 Subtotal General Requirements                                  0               0             0           0   0%             0   0%           0   0%           0     0%


                  Infra ‐ HC     Electric Grid                                          2,425,289               0      2,425,289          0   0%             0   0%           0   0%    2,425,289   100%

                  Infra ‐ HC     Service Facility for Sewer System Repairs               277,598                0       277,598           0   0%             0   0%           0   0%     277,598    100%

                  Infra ‐ HC     Creek Restoration                                              0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Restoration of Common Areas                                    0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Excavation and Regrading                                       0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Restoration of French Drains                            175,000                0       175,000           0   0%             0   0%           0   0%     175,000    100%

                  Infra ‐ HC     Renovation of Fire Sprinkler System                     200,000                0       200,000           0   0%             0   0%           0   0%     200,000    100%

                  Infra ‐ HC     Streets and Sidewalks                                          0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Exterior Lighting                                       300,000                0       300,000           0   0%             0   0%           0   0%     300,000    100%

                  Infra ‐ HC     Rebuilding of Retaining Walls                                  0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Building V ‐ Leasing Center                                    0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Contractor's Lounge                                            0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ HC     Mechanical: Chillers, Thermal, Pumps, Cool Towers      2,800,000               0      2,800,000          0   0%             0   0%           0   0%    2,800,000   100%

                  Infra ‐ HC     CPU Demolition and Retrofit                            1,550,000               0      1,550,000          0   0%             0   0%           0   0%    1,550,000   100%

                                 Subtotal Hard Costs                                    7,727,887               0      7,727,887          0   0%             0   0%           0   0%    7,727,887   100%



                                 TOTAL CONSTRUCTION                                     7,727,887               0      7,727,887          0   0%             0   0%           0   0%    7,727,887   100%



                  Infra ‐ Soft   Master Land Planner                                            0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ Soft   Legal                                                          0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ Soft   MEP                                                     195,000                0       195,000           0   0%             0   0%           0   0%     195,000    100%

                  Infra ‐ Soft   Civil Engineer                                                 0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ Soft   Surveys                                                        0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ Soft   Appraisal                                                      0               0             0           0   0%             0   0%           0   0%           0     0%

                  Infra ‐ Soft   Permitting Fees                                                0               0             0           0   0%             0   0%           0   0%           0     0%

                                 Subtotal Consultants & Misc.                            195,000                0       195,000           0   0%             0   0%           0   0%     195,000    100%


                                 TOTAL DEVELOPMENT                                       195,000                0       195,000           0   0%             0   0%           0   0%     195,000    100%




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                  OTHER ITEMS ‐ LOAN BUDGET                             (1)            (2)             (3)            (4)            (5)             (6)                 (7)                (8)                 (9)
                                                                     ORIGINAL        OVERALL        PREVIOUS       CURRENT         CURRENT        PREVIOUS            CURRENT             TOTAL               COST TO
 ITEM             ELEMENT                                            BUDGET         REVISIONS        BUDGET        REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM              COMPLETE
                                                                                      (5‐1)                          (5‐3)                                              (8‐6)                                  (5‐8)

 Other            Developer's Fee                                               0               0              0               0             0            0     0%              0   0%            0    0%            0     0%

 Other            Tenant Improvements (F: 1st and 2nd Floors Only)      3,500,000               0      6,646,380     (3,146,380)      3,500,000    1,932,518   55%      307,027     9%    2,239,545   64%     1,260,455   36%

 Other            Tenant Improvements (F: 3rd and 4th Floors Only)      3,146,380               0                                     3,146,380           0     0%              0   0%            0    0%     3,146,380   100%

 Other            Commissions 6%                                         500,000                0       500,000                0       500,000            0     0%              0   0%            0    0%      500,000    100%

 Other            Loan Closing Costs & Fees                             3,360,000               0      2,480,000        880,000       3,360,000    3,296,813   98%              0   0%    3,296,813   98%       63,187     2%

 Other            Interest Reserve & Closing Costs                      8,500,000               0      8,500,000               0      8,500,000    6,662,125   78%              0   0%    6,662,125   78%     1,837,875   22%

 Other            PACE Program Costs                                            0               0              0               0             0            0     0%              0   0%            0    0%            0     0%

 Other            Payoff of Existing Loan                              27,665,589               0     27,368,137        297,452      27,665,589   27,665,589   100%             0   0%   27,665,589   100%           0     0%

 Other            Contingency                                           2,268,699     (1,650,431)      2,268,699     (1,650,431)       618,268            0     0%              0   0%            0    0%      618,268    100%

 Other            Property Taxes 2017                                    229,869                0       229,869                0       229,869      229,869    100%             0   0%     229,869    100%           0     0%

                  TOTAL CONSTRUCTION                                   49,170,537     (1,650,431)     47,993,085     (3,619,359)     47,520,106   39,786,914   84%      307,027     1%   40,093,941   84%     7,426,165   16%




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                              OTHER ITEMS PACE BUDGET               (1)            (2)            (5)            (6)             (7)               (8)               (9)
                                                                 ORIGINAL        OVERALL        CURRENT       PREVIOUS        CURRENT            TOTAL             COST TO
                  ITEM        ELEMENT                            BUDGET         REVISIONS       BUDGET         CLAIM           CLAIM             CLAIM            COMPLETE
                                                                                  (5‐1)                                         (8‐6)                               (5‐8)

                  Other       Developer's Fee                               0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Tenant Improvements (F Only)                  0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Commissions 6%                                0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Loan Closing Costs & Fees                     0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Interest Reserve & Closing Costs       375,000                0       375,000          0   0%             0   0%           0   0%     375,000   100%

                  Other       PACE Program Costs                     417,511                0       417,511          0   0%             0   0%           0   0%     417,511   100%

                  Other       Payoff of Existing Loan                       0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Contingency                                   0               0             0          0   0%             0   0%           0   0%          0     0%

                  Other       Property Taxes 2017                           0               0             0          0   0%             0   0%           0   0%          0     0%

                              TOTAL CONSTRUCTION                     792,511                0       792,511          0   0%             0   0%           0   0%     792,511   100%




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  WORK WELL WIN (NETWORK GROUP) TI'S                                   (1)            (2)             (3)            (4)            (5)             (6)                 (7)                (8)                 (9)
                                                                    ORIGINAL        OVERALL        PREVIOUS       CURRENT         CURRENT        PREVIOUS            CURRENT             TOTAL               COST TO
  ITEM            ELEMENT                                           BUDGET         REVISIONS        BUDGET        REVISIONS       BUDGET          CLAIM               CLAIM              CLAIM              COMPLETE
                                                                                     (5‐1)                          (5‐3)                                              (8‐6)                                  (5‐8)

  TI's            Construction Mobilization & Building Protection              0               0                              0             0            0     0%              0   0%            0    0%            0     0%

  TI's            Framing                                               204,044                0                       204,044        204,044      200,898    98%        3,091     2%     203,989    100%          55     0%

  TI's            Drywall                                               170,631                0                       170,631        170,631      118,358    69%       44,792     26%    163,149    96%        7,482     4%

  TI's            Coring                                                  5,000                0                         5,000          5,000        5,000    100%             0   0%       5,000    100%           0     0%

  TI's            Fire Caulking                                           7,500                0                         7,500          7,500        5,641    75%              0   0%       5,641    75%        1,859    25%

  TI's            Insulation                                             25,387                0                        25,387         25,387       10,801    43%        8,339     33%     19,140    75%        6,247    25%

  TI's            Fire Alarm System                                      65,689                0                        65,689         65,689        3,285     5%              0   0%       3,285     5%       62,403    95%

  TI's            Fire Sprinkler System                                 142,907                0                       142,907        142,907      117,733    82%        2,410     2%     120,143    84%       22,764    16%

  TI's            Fire Extinguishers and Cabinets                         5,000                0                         5,000          5,000            0     0%              0   0%            0    0%        5,000    100%

  TI's            Drop Ceilings                                           3,071                0                         3,071          3,071            0     0%              0   0%            0    0%        3,071    100%

  TI's            Wood Doors                                             30,280                0                        30,280         30,280          274     1%              0   0%         274     1%       30,006    99%

  TI's            Glazing and Framing                                   352,436                0                       352,436        352,436      251,911    71%       20,000     6%     271,911    77%       80,525    23%

  TI's            Door Hardware                                          52,723                0                        52,723         52,723            0     0%              0   0%            0    0%       52,723    100%

  TI's            Lighting and Controls                                 198,335                0                       198,335        198,335      183,394    92%       13,562     7%     196,956    99%        1,379     1%

  TI's            Electrical                                            448,300                0                       448,300        448,300      352,236    79%       40,228     9%     392,464    88%       55,837    12%

  TI's            Plumbing                                               64,974                0                        64,974         64,974       57,704    89%        2,947     5%      60,652    93%        4,322     7%

  TI's            Plumbing Fixtures                                      25,848                0                        25,848         25,848       11,724    45%       14,033     54%     25,758    100%          90     0%

  TI's            Mechanical/Balancing                                  548,613                0                       548,613        548,613      247,881    45%       36,331     7%     284,212    52%      264,400    48%

  TI's            Interior Finishes                                      17,183                0                        17,183         17,183          191     1%       15,813     92%     16,004    93%        1,179     7%

  TI's            Millwork (paint grade cabinets)                        42,558                0                        42,558         42,558       17,165    40%              0   0%      17,165    40%       25,394    60%

  TI's            Ironwork (Stair handrails)                             38,293                0                        38,293         38,293       11,771    31%        4,803     13%     16,574    43%       21,720    57%

  TI's            Solid Surfaces: Break Rooms                            27,046                0                        27,046         27,046        1,567     6%         913      3%       2,481     9%       24,566    91%

  TI's            Interior Millwork (Baseboard)                          29,283                0                        29,283         29,283        5,259    18%              0   0%       5,259    18%       24,025    82%

  TI's            Shower Rooms                                           97,475                0                        97,475         97,475            0     0%       26,166     27%     26,166    27%       71,310    73%

  TI's            Lobby                                                  71,974                0                        71,974         71,974            0     0%        9,385     13%      9,385    13%       62,589    87%

  TI's            Flooring                                              322,312                0                       322,312        322,312      131,495    41%       28,746     9%     160,241    50%      162,071    50%

  TI's            Dumpster and Disposal Fees                             21,650                0                        21,650         21,650        1,061     5%              0   0%       1,061     5%       20,589    95%

  TI's            Construction Cleaning                                  20,000                0                        20,000         20,000       10,927    55%        3,710     19%     14,637    73%        5,364    27%

  TI's            Equipment Rental                                       42,867                0                        42,867         42,867        3,612     8%        7,619     18%     11,231    26%       31,636    74%

  TI's            Final Cleaning                                         15,000                0                        15,000         15,000            0     0%              0   0%            0    0%       15,000    100%

  TI's            Third Party Inspections                                 7,500                0                         7,500          7,500            0     0%              0   0%            0    0%        7,500    100%

  TI's            Site Management                                        75,000                0                        75,000         75,000       25,245    34%              0   0%      25,245    34%       49,755    66%

  TI's            Professional Fees                                     181,675                0                       181,675        181,675      134,379    74%        8,064     4%     142,443    78%       39,233    22%

  TI's            Insurance                                               8,000                0                         8,000          8,000            0     0%              0   0%            0    0%        8,000    100%

  TI's            Interior Signage by Builder                            15,185                0                        15,185         15,185            0     0%              0   0%            0    0%       15,185    100%

  TI's            Paint & Dryfall Paint                                 116,260                0                       116,260        116,260       23,006    20%       16,076     14%     39,083    34%       77,177    66%

                  TOTAL                                                3,500,000               0              0      3,500,000       3,500,000    1,932,518   55%      307,027     9%    2,239,545   64%     1,260,455   36%




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APPENDIX 2

Lien Waivers
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Site Photographs
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Other Draw Backup
